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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS

  DEBORAH LOCASCIO and DAVID                         CASE NO.
  SUMMERS, Individually and as
  representatives of a class of similarly situated
  persons, on behalf of the FLUOR
  CORPORATION EMPLOYEES’ SAVINGS
  INVESTMENT PLAN,                                   CLASS ACTION COMPLAINT
                         Plaintiffs,
                                                     JURY TRIAL DEMANDED
            v.

  FLUOR CORPORATION, THE BOARD OF
  DIRECTORS OF FLUOR CORPORATION,
  THE FLUOR CORPORATION BENEFITS
  ADMINISTRATIVE COMMITTEE, THE
  FLUOR CORPORATION RETIREMENT
  PLAN INVESTMENT COMMITTEE and
  DOES No. 1-30, Whose Names Are
  Currently Unknown,
                         Defendants.


                                       I.    INTRODUCTION

       1.        Plaintiffs, Deborah Locascio (“Locascio”) and David Summers (“Summers”)

(collectively, “Plaintiffs”), individually in their capacity as former participants of the Fluor

Corporation Employees’ Savings Investment Plan (“Plan”), bring this action under 29 U.S.C. §

1132, on behalf of the Plan and a class of similarly-situated participants, against Defendants,

Fluor Corporation (“Fluor”), the Board of Directors of Fluor Corporation (“Board”), the Fluor

Corporation Benefits Administrative Committee (“Administrative Committee”), the Fluor

Corporation Retirement Plan Investment Committee (“Investment Committee”) (collectively,

“Committees”) and Does No. 1-30, who are members of the Committees or other fiduciaries of

the Plan and whose names are currently unknown (collectively, “Defendants”), for breach of

their fiduciary duties under the Employee Retirement Income Security Act (“ERISA”), 29 U.S.C.

§ 1001, et seq., and related breaches of applicable law beginning six years prior to the date this

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action is filed and continuing to the date of judgment or such earlier date that the Court

determines is appropriate and just (the “Class Period”).

           2.       Defined contribution plans (e.g., 401(k) and 403(b) plans) that are qualified as

tax-deferred vehicles have become the primary form of retirement saving in the United States

and, as a result, America’s de facto retirement system. Unlike traditional defined benefit

retirement plans, in which the employer typically promises a calculable benefit and assumes the

risk with respect to high fees or under-performance of pension plan assets used to fund defined

benefits, 401(k) and 403(b) plans operate in a manner in which participants bear the risk of high

fees and investment underperformance.

           3.       The importance of defined contribution plans to the United States retirement

system has become pronounced as employer-provided defined benefit plans have become

increasingly rare as an offered and meaningful employee benefit.

           4.       As of December 31, 2020, the Plan had 15,062 participants with account balances

and assets totaling approximately $3.45 billion, placing it in the top 0.1% of all defined

contribution plans by plan size. 1 Defined contribution plans with substantial assets, like the

Plan, have significant bargaining power and the ability to demand low-cost administrative and

investment management services within the marketplace for administration of defined

contribution plans and the investment of defined contribution assets. The marketplace for

defined contribution retirement plan services is well-established and can be competitive when

fiduciaries of defined contribution retirement plans act in an informed and prudent fashion.

           5.       Defendants maintain the Plan, and are responsible for selecting, monitoring, and

retaining the service provider(s) that provide investment, recordkeeping, and other administrative

services. Defendants are fiduciaries under ERISA, and, as such, owe a series of duties to the



1
    The BrightScope/ICI Defined Contribution Plan Profile: A Close Look at 401(k) Plans, 2017 (pub. August 2020).

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Plan and its participants and beneficiaries, including obligations to act for the exclusive benefit

of participants, ensure that the investment options offered through the Plan are prudent and

diverse, and ensure that Plan expenses are fair and reasonable.

       6.      Defendants have breached their fiduciary duties to the Plan. As detailed below,

Defendants: (1) failed to fully disclose the expenses and risk of the Plan’s investment options to

participants; (2) allowed unreasonable expenses to be charged to participants; and (3) selected,

retained, and/or otherwise ratified high-cost and poorly-performing investments, instead of

offering more prudent alternative investments when such prudent investments were readily

available at the time Defendants selected and retained the funds at issue and throughout the Class

Period; .

       7.      To remedy these fiduciary breaches and other violations of ERISA, Plaintiffs

bring this class action under Sections 404, 409 and 502 of ERISA, 29 U.S.C. §§ 1104, 1109 and

1132, to recover and obtain all losses resulting from each breach of fiduciary duty. In addition,

Plaintiffs seek such other equitable or remedial relief for the Plan and the proposed class

(“Class”) as the Court may deem appropriate and just under all of the circumstances.

       8.      Plaintiffs specifically seek the following relief on behalf of the Plan and the Class:

               a.      A declaratory judgment holding that the acts of Defendants described

                       herein violate ERISA and applicable law;

               b.      A permanent injunction against Defendants prohibiting the practices

                       described herein and affirmatively requiring them to act in the best

                       interests of the Plan and its participants;

               c.      Equitable, legal or remedial relief for all losses and/or compensatory

                       damages;

               d.      Attorneys’ fees, costs and other recoverable expenses of litigation; and



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               e.      Such other and additional legal or equitable relief that the Court deems

                       appropriate and just under all of the circumstances.

                                      II.     THE PARTIES

       9.      Locascio is a former employee of Fluor and is a former participant in the Plan

under 29 U.S.C. § 1002(7). Locascio is a resident of Sugar Land, Texas. During the Class

Period, Locascio maintained an investment through the Plan in the Total Bond Index Fund, the

S&P 500 Index Fund, the Small/Mid Cap Equity Index Fund, the Non-U.S. Equity Index Fund,

and the Fluor Corporation Common Stock Fund and was subject to the excessive recordkeeping

and administrative costs alleged below.

       10.     Summers is a former employee of Fluor and is a former participant in the Plan

under 29 U.S.C. § 1002(7). Summers is a resident of Rockdale, Texas. During the Class Period,

Locascio maintained an investment through the Plan in the Fluor Target Date 2030 Fund, the

Fluor Target Date 2055 Fund, the Stable Value Fund, the Total Bond Index Fund, the Diversified

Bond Fund, the S&P 500 Index Fund, the Small/Mid Cap Equity Fund, and the Fluor

Corporation Common Stock Fund and was subject to the excessive recordkeeping and

administrative costs alleged below.

       11.     Fluor is a Delaware domestic corporation headquartered in Irving, Texas. Fluor is

a global engineering, procurement, construction and maintenance company that purports to

design, build and maintain “the world’s toughest projects.”

       12.     The Board appointed “authorized representatives” of Fluor, including the

Committees, as plan fiduciaries. Does No. 1-10 are members of the Board who were/are fiduciaries

of the Plan under ERISA pursuant to 29 U.S.C. §§ 1002(21)(A) because each exercised discretionary

authority to appoint and/or monitor the Committees, which had control over Plan management and/or

authority or control over management or disposition of Plan assets.




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       13.     The Administrative Committee is the Plan administrator and is a fiduciary under

ERISA pursuant to 29 U.S.C. §§ 1002 and 1102. The Administrative Committee exercises

discretionary authority and control to administer, construe, and interpret the Plan and its assets.

The Administrative Committee maintains its address at Fluor’s corporate headquarters in Irving,

Texas. The Administrative Committee and its members are appointed by Fluor to administer the

Plan on Fluor’s behalf.

       14.     The Investment Committee is established by Fluor to assist Fluor with the

selection of investment funds offered for selection by Plan participants and is a fiduciary under

ERISA pursuant to 29 U.S.C. §§ 1002 and 1102. The Investment Committee exercises authority

or control in selecting and monitoring the Plan’s assets. The Investment Committee maintains its

address at Fluor’s corporate headquarters in Irving, Texas. The Investment Committee has “the

authority to manage the assets of the Plan, including through determining the Plan’s investment

options, monitoring the diversity of such investment options, and providing investment direction

to the Trustee.”

       15.     Does No. 11-30 are the members of the Committees and, by virtue of their

membership, fiduciaries of the Plan. Plaintiffs are currently unable to determine the membership

of the Committees or the identity of the other fiduciaries of the Plan because, despite reasonable

and diligent efforts, it appears that the membership of the Committees and the identity of any

other fiduciaries are not publicly available. As such, these defendants are named Does as

placeholders. Plaintiffs will move, pursuant to Rule 15 of the Federal Rules of Civil Procedure,

to amend this Complaint to name the members of the Committees, the members of the Board,

and other responsible individuals as defendants as soon as their identities are discovered.

                             III.    JURISDICTION AND VENUE




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        16.       Plaintiffs seek relief on behalf of the Plan pursuant to ERISA’s civil enforcement

remedies with respect to fiduciaries and other interested parties and, specifically, under 29

U.S.C. § 1109 and 29 U.S.C. § 1132.

        17.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1331 because this action arises under the laws of the United States.

        18.       Venue is proper in this District pursuant to Section 502(e) of ERISA, 29 U.S.C. §

1332(e), and 28 U.S.C. § 1391 because Fluor’s principal place of business is in this District and

the Plan is administered from this judicial district. Furthermore, a substantial part of the acts and

omissions giving rise to the claims asserted herein occurred in this District.

        19.       Plaintiffs have standing to bring this action. Section 502(a)(2) of ERISA, 29

U.S.C. § 1132(a)(2), authorizes any participant, fiduciary or the Secretary of Labor to bring suit

as a representative of a plan, with any recovery necessarily flowing to a plan. As explained

herein, the Plan has suffered millions of dollars in losses resulting from Defendants’ fiduciary

breaches and remains vulnerable to continuing harm, all redressable by this Court. In addition,

although standing under Section 502(a)(2) of ERISA, 29 U.S.C. § 1132(a)(2), is established by

these Plan-wide injuries, Plaintiffs and all Plan participants suffered financial harm as a result of

the Plan’s imprudent investment options and excessive recordkeeping and administrative fees,

and were deprived of the opportunity to invest in prudent options with reasonable fees, among

other injuries.

                                IV.     FACTUAL ALLEGATIONS

A.      Background and Plan Structure

        20.       The Plan is a single-employer 401(k) plan, in which participants direct the

investment of their contributions into various investment options offered by the Plan. Each

participant’s account is credited with the participant contributions, employer matching

contributions, any discretionary contributions, and earnings or losses thereon. The Plan pays

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Plan expenses from Plan assets, and the majority of administrative expenses are paid by

participants as a reduction of investment income. Each participant’s account is charged with the

amount of distributions taken and an allocation of administrative expenses. The available

investment options for participants of the Plan include custom investment funds set up as

separate accounts, Fluor common stock, and a self-directed brokerage account.

       21.     The Plan’s investment alternatives are custom options set up as separate accounts

that are managed either exclusively for the Plan or on a commingled basis for the Plan and other

institutional investors. Each custom fund operates under guidelines established between the

Fluor Corporation Master Retirement Trust (“Master Trust”) and the respective investment

manager appointed by the Investment Committee. The custom investment funds are not mutual

funds and, accordingly, are not regulated by the Securities and Exchange Commission (“SEC”).

       22.     The Plan operates, in part, as an employee stock ownership plan, which enables

Fluor employees to acquire an ownership interest in the company through units of Fluor

Corporation Common Stock Fund. The fund operates as a unitized fund, meaning participant

accounts invest in units which represent a pro rata interest in the Plan’s investment in Fluor

stock and cash or cash equivalents, which are held in a trust fund. Plan participants are

prohibited from investing more than 20% of their account balance in the stock fund.

       23.     Voya Financial (“Voya”) has served as the Plan’s recordkeeper since mid-2017,

when the Plan’s relationship with Aon Hewitt was terminated. Aon Hewitt had served as the

plan’s recordkeeper from the beginning of the Class Period. As the recordkeeper, Voya is

responsible for maintaining records with respect to employees’ accounts in the Plan, effectuating

participant Plan investment elections, and performing administrative functions such as

processing loan and withdrawal requests.

       24.     During the Class Period, Plan assets were held in the Master Trust by the primary

custodian of the Plan, the Northern Trust Company. All investments and asset allocations are

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performed through this trust fund, which holds the investments of the Plan and various other

employee benefit plans sponsored by Fluor and certain of its subsidiaries and affiliates. The

Plan’s assets represent approximately 99% of the total assets in the Master Trust.

B.      The Defined Contribution Industry

        25.      Failures by ERISA fiduciaries to monitor fees and costs for reasonableness, such

as those identified herein, have stark financial consequences for retirees. Every extra level of

expenses imposed upon plan participants compounds over time and reduces the value of

participants’ investments available upon retirement. Over time, even small differences in fees

compound and can result in vast differences in the amount of a participant’s savings available at

retirement.     As the Supreme Court has explained, “[e]xpenses, such as management or

administrative fees, can sometimes significantly reduce the value of an account in a defined-

contribution plan.” Tibble v. Edison Int'l, 575 U.S. 523, 525 (2015).

        26.      The impact of excessive fees on a plan’s employees’ and retirees’ retirement assets

is dramatic. The U.S. Department of Labor (“DOL”) has noted that a 1% higher level of fees over

a 35-year period makes a 28% difference in retirement assets at the end of a participant’s career. 2

        27.      Plan participants typically have little appreciation of the fees being assessed to their

accounts. Indeed, according to a 2017 survey conducted by TD Ameritrade, only 27% of investors

believed they knew how much they were paying in fees as participants in defined contribution

plans, and 37% were unaware that they paid defined contribution fees at all. 3 It is incumbent upon

plan fiduciaries to act for the exclusive best interest of plan participants, protect their retirement

dollars, and ensure that fees are and remain reasonable for the services provided, and are properly



2
 A Look at 401(k) Plan Fees, UNITED STATES DEPT. OF LABOR at 1-2 (Sept. 2019),
https://www.dol.gov/sites/dolgov/files/ebsa/about-ebsa/our-activities/resourcecenter/publications/a-look-at-401k-
plan-fees.pdf (last visited December 5, 2021).
3
 See https://s2.q4cdn.com/437609071/files/doc_news/research/2018/Investor-Sentiment-Infographic-401k-fees.pdf
(last visited December 5, 2021).


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and fully disclosed. Unfortunately, fiduciaries of defined contribution retirement plans, including

large retirement plans like the Plan, also often lack understanding of the fees being charged to the

plans that they administer, manage and control in derogation of their fiduciary duties.

C.     Recordkeeping and Administrative Services

       28.     Fiduciaries of virtually all large defined contribution plans, including the Plan, hire

a single provider to provide the essential recordkeeping and administrative (“RK&A”) services for

the plan. These services include, but are not limited to, maintaining plan records, tracking

participant account balances and investment elections, providing transaction processing, providing

call center support and investment education and guidance, providing participant communications,

and providing trust and custodial services.

       29.     The term “recordkeeping” is a catchall term for the entire suite of recordkeeping

and administrative services typically provided by a plan’s service provider or “recordkeeper” –

that is recordkeeping fees and RK&A fees are one and the same and the terms are used

synonymously.

       30.     Recordkeepers typically collect their fees in two forms, respectively referred to as

“direct” compensation and “indirect” compensation.

       31.     Direct compensation is paid directly from plan assets and reflected as a deduction

in the value of participant accounts.

       32.     Indirect Compensation is paid to the recordkeeper indirectly by third parties and is

not transparent to retirement plan participants. In other words, the fees are taken from the

investment options prior to the value of the investment option being provided to the participant

(most often from the investment’s expense ratio in the form of so-called “revenue sharing”

payments that are collected by the investment provider and then remitted or kicked-back to the

recordkeeper). Thus, in most cases, participants are not aware that they are paying these fees.



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Most indirect compensation is typically collected by recordkeepers through asset-based “revenue

sharing,” as explained above.

       33.     Virtually all recordkeepers are subsidiaries or affiliates of financial services and

insurance companies that also provide investment options to defined contribution plans, (e.g.,

mutual funds, insurance products, collective trusts, separate accounts, etc.), or have some other

ancillary line of business (e.g., consulting) to sell to plans. As a result, all recordkeepers consider

the economic benefit of their entire relationship with a defined contribution plan when setting fees

for the RK&A services. Simply put, discounts in the RK&A fee rate are often available based on

revenues the recordkeeper earns through the provision of other services (e.g., investment

management revenues). In many cases, the additional investment management revenues are more

than double or triple the revenue earned by the recordkeeper for providing RK&A services.

       34.     There are two types of essential recordkeeping services provided by all national

recordkeepers for large plans with substantial bargaining power (like the Plan). First, an overall

suite of recordkeeping services is provided to large plans as part of a “bundled” arrangement for a

buffet style level of service (meaning that the services are provided, in retirement industry

parlance, on an “all-you-can-eat” basis), including, but not limited to, the following services:

                  i.   Recordkeeping;

                 ii.   Transaction processing (which includes the technology to process purchases

                       and sales of participants’ assets, as well as providing the participants access

                       to investment options selected by the plan sponsor);

                iii.   Administrative services related to converting a plan from one recordkeeper

                       to another;

                 iv.   Participant    communications      (including    employee     meetings,     call

                       centers/phone support, voice response systems, web account access, and the



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                          preparation of other materials distributed to participants, e.g., summary plan

                          descriptions);

                   v.     Maintenance of an employer stock fund (if needed);

                   vi.    Plan document services, which include updates to standard plan documents

                          to ensure compliance with new regulatory and legal requirements;

                  vii.    Plan consulting services, including assistance in selecting the investment

                          lineup offered to participants;

                 viii.    Accounting and audit services, including the preparation of annual reports,

                          e.g., Form 5500s 4 (excluding the separate fee charged by an independent

                          third-party auditor);

                   ix.    Compliance support, including assistance interpreting plan provisions and

                          ensuring the operation of the plan is in compliance with legal requirements

                          and the provisions of the plan (excluding separate legal services provided

                          by a third-party law firm); and

                   x.     Compliance testing to ensure the plan complies with U.S. Internal Revenue

                          Service nondiscrimination rules.

        35.      This suite of essential RK&A services can be referred to as “Bundled RK&A”

services. These services are offered by all recordkeepers for one price (typically at a per capita

price), regardless of the services chosen or utilized by the plan. Anyone who has passing

familiarity with recordkeepers’ responses to requests for proposals, their bids and their contracts

understands and appreciates that the services chosen by a large plan do not affect the amount

charged by recordkeepers for such basic and fungible services and any claim by Defendants that

recordkeeping expenses depend upon the service level provided to a plan with respect to the above


The Form 5500 is the annual report that defined contribution plans are required to file with the DOL and U.S.
4

Department of Treasury pursuant to the reporting requirements of ERISA.


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services is both false and frivolous. Nonetheless, as is all too often the case, when attempting to

defend their malfeasance or nonfeasance with respect to recordkeeping fees, fiduciary-defendants

often disingenuously assert that the cost of Bundled RK&A services depend upon service level

(even though such an assertion is plainly untrue based upon the actual marketplace for such

services), as part of attempt to perpetuate misunderstanding by the less informed in order to stave

off breach of fiduciary duty claims.

       36.     The second type of essential RK&A services, hereafter referred to as “A La Carte

RK&A” services, provided by all national recordkeepers, often has separate, additional fees based

on the conduct of individual participants and the usage of the services by individual participants.

These fees are distinct from the Bundled RK&A arrangement to ensure that one participant is not

forced to help another cover the cost of, for example, taking a loan from their plan account balance.

These A La Carte RK&A services typically include, but are not limited to, the following:

                  i.   Loan processing;

                 ii.   Brokerage services/account maintenance (if offered by the plan);

                iii.   Distribution services; and

                iv.    Processing of qualified domestic relations orders.

       37.     All national recordkeepers have the capability to provide all of the aforementioned

RK&A services to all large defined contribution plans, including those much smaller than the Plan.

       38.     For large plans with greater than 5,000 participants, any minor variations in the way

that these essential RK&A services are delivered have no material impact on the fees charged by

recordkeepers to deliver the services. This fact is confirmed by the practice of all recordkeepers of

quoting fees for the Bundled RK&A services on a per-participant basis without regard for any

individual differences in services requested—which are treated by recordkeepers as immaterial

because they are, in fact, inconsequential to recordkeepers from a cost perspective.



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       39.     While recordkeepers in the defined contribution industry attempt to distinguish

themselves through marketing and other means, they all actually offer the same bundles and

combinations of services as their competitors. Accordingly, the market for defined contribution

plan RK&A services has become increasingly price competitive, particularly for larger plans that,

like the Plan, have a considerable number of participants and significant assets.

       40.     The marginal cost of adding an additional participant to a recordkeeping platform

is relatively low. These economies of scale are inherent in all recordkeeping arrangements for

defined contribution plans, including the Plan. As a plan’s participant count increases, the

recordkeeper’s fixed costs of providing RK&A services are spread over a larger population,

thereby reducing the average unit cost of delivering services on a per-participant basis.

       41.     Due to these economies of scale that are part of a recordkeeping relationship, and

because the incremental variable costs for providing RK&A are dependent on the number of

participants with account balances in a defined contribution plan, the cost to the recordkeeper on

a per-participant basis declines as the number of plan participants increases and, as a result, a

recordkeeper is willing to accept a lower fee to provide RK&A as the number of participants in

the plan increases.

       42.     As a result, it is axiomatic in the retirement plan services industry that (1) a plan

with more participants can and will receive a lower effective per-participant fee when evaluated

on a per-participant basis; and (2) that as participant counts increase, the effective per-participant

RK&A fee should decrease.

       43.     The average cost to a recordkeeper of providing services to a participant similarly

does not hinge on that participant’s account balance. In other words, it costs a recordkeeper the

same amount to provide services to a participant with an account balance of $10,000 as it does to

provide services to a participant with a balance of $1,000,000.



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        44.    Informed, prudent plan fiduciaries are aware of these cost structure dynamics.

Understanding these marketplace realities and facts, prudent fiduciaries of large plans (like the

Plan) will leverage the plan’s participant count to obtain lower effective per-participant fees.

        45.    Because recordkeeping fees are actually paid in dollars, prudent fiduciaries evaluate

the fees for RK&A services on a dollar-per-participant basis. This is the current standard of care

for ERISA fiduciaries and has been throughout the Class Period.

        46.    Prudent fiduciaries will regularly ensure that a plan is paying fees commensurate

with its size in the marketplace by soliciting competitive bids from recordkeepers other than the

plan’s current provider. Recognizing that RK&A services are essentially uniform in nature, and

that any minor differences in the services required by a large plan are immaterial to the cost of

providing such services, most recordkeepers only require a plan’s participant count and asset level

in order to provide a fee quote. These quotes are typically provided on a per-participant basis,

enabling fiduciaries to easily compare quotes on an apples-to-apples basis to determine if the

current level of fees being charged by a plan’s recordkeeper is reasonable.

        47.    Once a prudent fiduciary has received quotes, if necessary, the fiduciary can then

negotiate with the plan’s current provider for a lower fee or move to a new provider to provide the

same (or better) services for a competitive (or lower) reasonable fee. This is because prudent

fiduciaries understand that excessive fees significantly and detrimentally impact the value of

participants’ retirement accounts.

        48.    After negotiating the fee to be paid to the recordkeeper and electing to have the plan

(i.e., participants) pay that fee, the fiduciaries can allocate the negotiated fees among participant

accounts at the negotiated per-participant rate or pro rata based on participant account balances,

among other less common ways.

D.      Defendants’ Breaches of Fiduciary Duties



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       49.     As discussed in detail below, Defendants have severely breached their fiduciary

duties of prudence and/or loyalty to the Plan in several significant ways. Plaintiffs did not

acquire actual knowledge regarding Defendants’ breaches at issue here until shortly before this

Complaint was filed.

               1.      The Plan’s Excessive Recordkeeping and Administrative Costs

       50.     An obvious indicator of Defendants’ breach of their fiduciary duties is the Plan’s

excessive RK&A costs. The impact of such high fees on participant balances is aggravated by

the effects of compounding, to the significant detriment of participants over time. This effect is

illustrated by the below chart, published by the SEC, showing the 20-year impact on a balance of

$100,000 by fees of 25 basis points (0.25%), 50 basis points (0.50%), and 100 basis points

(1.00%).




       51.     During the Class Period, participants paid Aon Hewitt, and then, starting in 2017,

Voya, for RK&A services through direct charges to their accounts and indirectly through asset-

based revenue sharing. The RK&A services provided to the Plan are and were the same standard

services identified above, and those provided to comparable plans. There are no services provided

to the Plan and its participants by Aon Hewitt or Voya that are unusual or out of the ordinary. For


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large plans like the Plan any differences in services are immaterial to pricing considerations, the

primary drivers of which are the number of participants and whether the plan fiduciaries employed

a competitive process of soliciting bids to determine the reasonable market rate for the services

required by the plan.

           52.       Since the start of the Class Period, Defendants allowed the Plan to be charged total

amounts of RK&A fees that far exceeded the reasonable market rate. The table below sets forth

the annual amounts per participant the Plan ultimately paid to Aon Hewitt and then Voya 5 in

RK&A fees, per the Plan’s Form 5500s.

                                           2015        2016        2017        2018        2019       2020      Average
    Participant Accounts with a Balance   18,625      20,345      18,417      17,145      16,558     15,062       17,692
                   Direct Compensation $ 1,428,922 $ 1,483,884 $ 1,412,495 $ 1,706,000 $ 2,041,000 $ 2,118,000 $ 1,698,384
                  Total RK&A Fee ($/pp)    $77         $73         $77        $100        $123        $141         $96


           53.       Given the Plan’s size and resulting negotiating power, with prudent management

and administration, the Plan should unquestionably have been able to obtain reasonable rates for

RK&A services that were significantly lower than the effective per-participant RK&A rates set

forth above.

           54.       According to publicly available data and information from the Form 5500 filings

of similarly sized defined contribution plans during the Class Period, other comparable plans were

paying much lower fees than the Plan throughout the Class Period. That is clear and compelling

evidence that the reasonable market rate is lower than what the Plan was paying since these

comparable plans were able to negotiate lower fees for materially identical services.

           55.       The table below lists the RK&A fees paid by similarly sized defined contribution

plans, which represent the prices available to the Plan during the Class Period. Some of these

plans used Fidelity as their recordkeeper, while others used different high-quality, national

recordkeepers. The table also indicates the number of participants and assets of each plan.



5
    The total RK&A fee in 2017 represents the sum of the RK&A fees paid to Aon Hewitt and Voya, respectively.

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                         Plan                        Participants RK&A Fee ($) RK&A Fee ($/pp) Recordkeeper
Southern California Permanente Medical Group Tax
Savings Retirement Plan                                 11,388     $    473,410         $42        Vanguard
PG&E Corporation Retirement Savings Plan                12,273     $    350,111         $29        Fidelity
Viacom 401(k) Plan                                      12,884     $    411,959         $32        Great West
Michelin 401(k) Savings Plan                            15,880     $    543,332         $34        Vanguard
Fluor Corporation Employees' Savings Investment                                                    Aon Hewitt/
Plan Average Fee                                        17,692     $ 1,698,384          $96        Voya
Ecolab Savings Plan and ESOP                            17,886     $ 608,061            $34        Fidelity
Fedex Office and Print Services, Inc. 401(k)
Retirement Savings Plan                                 19,354     $    444,784         $23        Vanguard
Qualcomm Incorporated Employee Savings and
Retirement Plan                                         20,955     $    639,143         $31        Fidelity
The Rite Aid 401(k) Plan                                24,309     $    719,730         $30        Great West

        56.      The RK&A fees calculated 6 for each similar comparable plan in the table above

include all the direct compensation paid to the recordkeeper disclosed on each plan’s Form 5500,

as well as all indirect compensation. Specifically, if the plan’s pricing structure as described in

each plan’s Form 5500 reveals that some or all of the revenue sharing is not returned to the plan,

then the appropriate amount of revenue sharing is also included to calculate the RK&A fees. In

some cases, the plan’s investment options do not contain revenue sharing and, as a result, any

indirect revenue is immaterial to the RK&A fees. In other plans, all of the revenue sharing is

returned to the plans and is therefore not included in the fee calculation.

        57.      The comparable plans above received at least the same RK&A services received by

the Plan for the fees paid. In other words, the fees in the table above are apples-to-apples

comparisons in that they include all the fees being charged by each recordkeeper to provide the

same RK&A services to similar defined contribution plans.

        58.      As the table above indicates, the fees paid by the Plan for virtually the same package

of services are much higher than those of plans with comparable, and in many cases smaller,

participant counts. Indeed, based on fees paid by other large plans during the Class Period



6
 Fee calculations for the comparable plans are based on the information disclosed in each plan’s 2020 Form 5500, or
the most recently filed Form 5500 if 2020 is not available.


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receiving materially identical RK&A services, it is clear and more than reasonable to infer that

Defendants failed to follow a prudent process to ensure that the Plan was paying only reasonable

fees. In light of the amounts remitted to Fidelity throughout the Class Period, Defendants clearly

engaged in virtually no examination, comparison, or benchmarking of the RK&A fees of the Plan

to those of other similarly sized defined contribution plans, or were complicit in paying grossly

excessive fees.

        59.       Defendants’ failure to recognize that the Plan and its participants were grossly

overcharged for RK&A services and their failure to take effective remedial actions amounts to a

shocking breach of their fiduciary duties to the Plan. To the extent Defendants had a process in

place, it was imprudent and ineffective given the objectively unreasonable level of fees the Plan

paid for RK&A services. Had Defendants appropriately monitored the compensation paid to

Fidelity and ensured that participants were only charged reasonable RK&A fees, Plan

participants would not have lost millions of dollars in their retirement savings over the last six-

plus years.

                  2.      The Plan’s Objectively Imprudent Investment Options

        60.       Several of the Plan’s custom investment options are objectively imprudent,

separate and apart from the apparent excesses with respect to the Plan’s recordkeeping and

administrative fees, as well as its relationship with Voya, which the Plan entered into at

Defendants’ behest.

                          i.       The Custom Target Date Funds

        61.       Among other investments, the Plan lineup offers a suite of nine 7 custom target

date funds (“Fluor TDFs”). The Fluor TDFs are custom investment alternatives established for



7
 The Plan offered a tenth target date fund, the 2020 vintage, for the majority of the class period. On November 18,
2019, the 2020 Fund was reorganized into the Retirement Fund, and shareholders of the 2020 Fund received shares of
the Retirement Fund.

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exclusive use by the plans in the Master Trust, including the Plan. The Fluor TDFs are managed

by BlackRock, Inc. (“BlackRock”), and mirror the BlackRock LifePath Index Funds

(“BlackRock TDFs”), a collective trust target date fund suite.

       62.     A target date fund (“TDF”) is an investment vehicle that offers an all-in-one

retirement solution through a portfolio of underlying funds that gradually shifts to become more

conservative as the assumed target retirement year approaches. TDFs offer investors dynamic,

easy asset allocation, while providing both long-term growth and capital preservation.

Defendants were responsible for crafting the Plan lineup and could have chosen any TDF family

but elected to retain the Fluor TDFs instead, an imprudent decision that has cost Plan participants

significant growth in their retirement assets. The Fluor TDFs are significantly worse performing

than many of the mutual fund alternatives offered by TDF providers. Any objective evaluation

of the Fluor TDFs would have resulted in an examination of and selection of a more consistent

and better performing and more appropriate TDF suite than the Fluor TDFs. Given the relative

superiority of alternative TDF suites, in creating and retaining the Fluor TDFs, Defendants

clearly failed to carry out their responsibilities in a single-minded manner with an eye focused

solely on the interests of the participants. Had Defendants acted in the sole interest of Plan

participants by, for example, simply weighing the benefits of the Fluor TDFs against readily

available alternative TDFs, Defendants would have concluded that the Fluor TDFs represented a

clearly inferior option and were therefore an inappropriate offering in the Plan lineup.

       63.     Exacerbating Defendants’ imprudent choice to add and retain the Fluor TDFs is

the suite’s role as the Plan’s Qualified Default Investment Alternative (“QDIA”) for as long as it

has been an option in the Plan investment menu. A retirement plan can designate one of the

investment offerings from its lineup as a QDIA to aid participants who lack the knowledge or

confidence to make investment elections for their retirement assets; if participants do not direct

where their assets should be invested, all contributions are automatically invested in the QDIA.

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Plan fiduciaries are responsible for the prudent selection and monitoring of an appropriate QDIA.

The Fluor TDF with the target year that is closest to a participant’s assumed retirement age (age

65) has served as the QDIA in the Plan throughout the pertinent period.

        64.      Given the vast majority of plan participants in general, of which the Plan

participants are no exception, are not sophisticated investors, they largely, by default, concentrate

their retirement assets in TDFs. As such, the impact of Defendants’ imprudent selection of TDFs

is magnified vis-à-vis other asset categories. Indeed, throughout the Class Period, approximately

31%-34% of the Plan’s assets were invested in the Fluor TDFs.

        65.      Measured against appropriate, available alternative TDF suites, the Fluor TDFs

are a vastly inferior retirement solution. Throughout the Class Period, there were many TDF

offerings that consistently and dramatically outperformed the Fluor TDFs, providing investors

with substantially more capital appreciation. It is apparent, given the continued presence of the

Fluor TDFs in the Plan’s investment menu, that Defendants failed to scrutinize the performance

of the Fluor TDFs against any of the more appropriate alternatives in the TDF marketplace.

Accordingly, the Plan’s investment in the Fluor TDFs has resulted in participants missing out on

millions of dollars in retirement savings growth that could have been achieved through an

investment in any of the below proposed alternative TDFs, and indeed many other options.

        66.      A prudent fiduciary evaluates TDF returns not only against an appropriate index

or a group of peer TDFs, but also against specific, readily investable alternatives to ensure that

participants are benefitting from the current TDF offering. By the specific data points available

to Plaintiff through Plan literature, the returns of the Fluor TDFs have been dwarfed across the

board by those of a representative group of TDFs available off-the-shelf 8 (“Off-the-Shelf

8
 The Off-the-Shelf TDFs consist of the American Funds Target Date Funds Class R6 (“American TDFs”), the Fidelity
Freedom Index Funds Investor Class (“Fidelity TDFs”), the State Street Target Retirement Funds Class K (“State
Street TDFs”), the T. Rowe Price Retirement Funds (“T. Rowe Price TDFs”), and the TIAA-CREF Lifecycle Index
Funds Institutional Class (“TIAA-CREF TDFs”).


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TDFs”). The below performance data, comparing the three- and five-year 9 annualized returns of

several representative vintages of the Fluor TDFs to those of the same iterations of the Off-the-

Shelf TDFs, represents information easily accessible to Defendants during the Class Period.

Defendants could have sought this comparative returns data at any time from Watson Wyatt

Investment Consulting (“Watson Wyatt”), the Plan’s investment advisor, or Aon Hewitt/Voya, or

indeed obtained it themselves in real time through just a few clicks of a computer mouse.

        Returns as of 4Q2018                     Returns as of 4Q2018                     Returns as of 4Q2018
2025 Fund             3-Year 5-Year      2040 Fund             3-Year 5-Year      2055 Fund             3-Year 5-Year
American TDFs         6.12% 5.00%        American TDFs         7.62% 6.05%        American TDFs         7.81% 6.17%
Fidelity TDFs         5.72% 4.46%        Fidelity TDFs         6.97% 5.14%        Fidelity TDFs         6.98% 5.13%
State Street TDFs     6.00%              State Street TDFs     6.73%              State Street TDFs     6.93%
T. Rowe Price TDFs 6.10% 4.77%           T. Rowe Price TDFs 6.77% 5.30%           T. Rowe Price TDFs 6.78% 5.31%
TIAA-CREF TDFs        5.76% 4.70%        TIAA-CREF TDFs        7.11% 5.45%        TIAA-CREF TDFs        7.44% 5.64%
Fluor TDFs            5.10% 3.80%        Fluor TDFs            6.30% 4.60%        Fluor TDFs            6.50% 4.70%
Fluor Rank             Last   Last       Fluor Rank             Last   Last       Fluor Rank             Last   Last

         Returns as of 4Q2019                     Returns as of 4Q2019                     Returns as of 4Q2019
2025 Fund              3-Year   5-Year   2040 Fund              3-Year   5-Year   2055 Fund              3-Year   5-Year
American TDFs          9.47%    7.12%    American TDFs         12.76%    9.30%    American TDFs         13.11%    9.54%
Fidelity TDFs          9.58%    6.97%    Fidelity TDFs         12.15%    8.73%    Fidelity TDFs         12.13%    8.71%
State Street TDFs      9.97%    7.13%    State Street TDFs     11.64%    8.19%    State Street TDFs     12.04%    8.38%
T. Rowe Price TDFs 10.34%       7.60%    T. Rowe Price TDFs 12.14%       8.74%    T. Rowe Price TDFs 12.32%       8.86%
TIAA-CREF TDFs         9.66%    7.13%    TIAA-CREF TDFs        11.96%    8.73%    TIAA-CREF TDFs        12.62%    9.24%
Fluor TDFs             8.60%    6.20%    Fluor TDFs            11.30%    8.00%    Fluor TDFs            12.00%    8.40%
Fluor Rank              Last     Last    Fluor Rank              Last     Last    Fluor Rank              Last     5/6

         Returns as of 2Q2020                     Returns as of 2Q2020                     Returns as of 2Q2020
2025 Fund              3-Year   5-Year   2040 Fund              3-Year   5-Year   2055 Fund              3-Year   5-Year
American TDFs          7.04%    6.89%    American TDFs          8.38%    8.24%    American TDFs          8.62%    8.47%
Fidelity TDFs          6.82%    6.42%    Fidelity TDFs          7.09%    7.20%    Fidelity TDFs          7.09%    7.20%
State Street TDFs      6.97%    6.70%    State Street TDFs      7.58%    7.39%    State Street TDFs      7.40%    7.38%
T. Rowe Price TDFs 6.21%        6.48%    T. Rowe Price TDFs 6.63%        7.08%    T. Rowe Price TDFs 6.54%        7.08%
TIAA-CREF TDFs         6.81%    6.59%    TIAA-CREF TDFs         7.32%    7.41%    TIAA-CREF TDFs         7.30%    7.64%
Fluor TDFs             6.00%    5.70%    Fluor TDFs             6.10%    6.30%    Fluor TDFs             6.00%    6.40%
Fluor Rank              Last     Last    Fluor Rank              Last     Last    Fluor Rank              Last     Last


         67.      The dramatic underperformance of the Fluor TDFs compared to its peers among

the Off-the-Shelf TDFs is not limited to the above few points during the Class Period for which



9
 Investment professionals and investment policy statements for virtually all competently managed defined
contribution retirement plans appropriately recognize that the three-year and five-year annualized returns are the most
important metrics for evaluating whether investment options should be maintained in a retirement plan lineup.

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Plaintiff has Fluor TDF performance data from participant disclosures. 10 Indeed, the

performance of the Fluor TDFs persistently and dramatically trailed the performance of the Off-

the-Shelf TDFs at every quarter end in the Class Period. 11 At any point in the Class Period, such

data would have been sufficient to convince a fiduciary following a prudent process that the

Fluor TDFs should be removed:

             •   At the end of the First Quarter of 2016 (the first quarter of the Class Period), the
                 Black Rock 2040 TDF’s three-year return of 5.15% trailed those of the Off-the-
                 Shelf TDFs, which ranged from 5.80% to 8.44%. Similarly, the BlackRock 2040
                 TDF’s five-year return of 5.30% trailed those of the Off-the-Shelf TDFs, which
                 ranged from 5.76% to 8.41%.

             •   At the end of the Second Quarter of 2016, the Black Rock 2040 TDF’s three-year
                 return of 6.19% trailed those of the Off-the-Shelf TDFs, which ranged from
                 6.73% to 8.61%. Similarly, the BlackRock 2040 TDF’s five-year return of 6.11%
                 trailed those of the Off-the-Shelf TDFs, which ranged from 6.22% to 8.73%.

             •   At the end of the Third Quarter of 2016, the Black Rock 2040 TDF’s three-year
                 return of 5.72% trailed those of the Off-the-Shelf TDFs, which ranged from
                 6.36% to 7.70%. Similarly, the BlackRock 2040 TDF’s five-year return of 9.02%
                 trailed those of the Off-the-Shelf TDFs, which ranged from 10.22% to 13.07%.

             •   At the end of the Fourth Quarter of 2016, the Black Rock 2040 TDF’s three-year
                 return of 4.14% trailed those of the Off-the-Shelf TDFs, which ranged from
                 4.61% to 5.19%. Similarly, the BlackRock 2040 TDF’s five-year return of 8.18%
                 trailed those of the Off-the-Shelf TDFs, which ranged from 9.00% to 11.46%.

             •   At the end of the First Quarter of 2017, the Black Rock 2040 TDF’s three-year
                 return of 5.24% trailed those of the Off-the-Shelf TDFs, which ranged from
                 6.17% to 6.84%. Similarly, the BlackRock 2040 TDF’s five-year return of 7.18%
                 trailed those of the Off-the-Shelf TDFs, which ranged from 8.32% to 10.59%.

10
  The returns and composition of the Fluor TDFs closely track those of the BlackRock TDFs. The trailing returns of
the two suites never differ by more than 5 basis points (0.05%), a small discrepancy that cannot compensate for the
dramatic gap between the performance of the Fluor TDFs and the Off-the-Shelf TDFs. Indeed, participant disclosures
and fund fact sheets available to Plaintiff refer to the Fluor TDFs as BlackRock Life Path Index Funds. Accordingly,
Plaintiff here cites to the performance data of the BlackRock TDFs as a proxy for the corresponding Fluor TDF data
to which he does not have access.

11
  Investment professionals and prudent fiduciaries recognize the necessity of regularly evaluating the performance of
investments on at least a quarterly basis.


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      •   At the end of the Second Quarter of 2017, the Black Rock 2040 TDF’s three-year
          return of 4.93% trailed those of the Off-the-Shelf TDFs, which ranged from
          5.81% to 6.69%. Similarly, the BlackRock 2040 TDF’s five-year return of 8.84%
          trailed those of the Off-the-Shelf TDFs, which ranged from 9.81% to 12.07%.

      •   At the end of the Third Quarter of 2017, the Black Rock 2040 TDF’s three-year
          return of 7.15% trailed those of the Off-the-Shelf TDFs, which ranged from
          7.74% to 8.85%. Similarly, the BlackRock 2040 TDF’s five-year return of 8.71%
          trailed those of the Off-the-Shelf TDFs, which ranged from 9.53% to 11.90%.

      •   At the end of the Fourth Quarter of 2017, the Black Rock 2040 TDF’s three-year
          return of 8.34% trailed those of the Off-the-Shelf TDFs, which ranged from
          8.75% to 9.89%. Similarly, the BlackRock 2040 TDF’s five-year return of 9.09%
          trailed those of the Off-the-Shelf TDFs, which ranged from 10.44% to 12.45%.

      •   At the end of the First Quarter of 2018, the Black Rock 2040 TDF’s three-year
          return of 7.05% trailed those of the Off-the-Shelf TDFs, which ranged from
          7.46% to 9.20%. Similarly, the BlackRock 2040 TDF’s five-year return of 8.01%
          trailed those of the Off-the-Shelf TDFs, which ranged from 9.00% to 10.51%.

      •   At the end of the Second Quarter of 2018, the Black Rock 2040 TDF’s three-year
          return of 7.70% trailed those of the Off-the-Shelf TDFs, which ranged from
          8.12% to 9.56%. Similarly, the BlackRock 2040 TDF’s five-year return of 8.48%
          trailed those of the Off-the-Shelf TDFs, which ranged from 9.47% to 10.91%.

      •   At the end of the Third Quarter of 2018, the Black Rock 2040 TDF’s three-year
          return of 11.77% trailed those of the Off-the-Shelf TDFs, which ranged from
          12.25% to 13.45%. Similarly, the BlackRock 2040 TDF’s five-year return of
          8.02% trailed those of the Off-the-Shelf TDFs, which ranged from 9.22% to
          10.08%.

      •   At the end of the Fourth Quarter of 2018, the Black Rock 2040 TDF’s three-year
          return of 6.35% trailed those of the Off-the-Shelf TDFs, which ranged from
          6.73% to 7.62%. Similarly, the BlackRock 2040 TDF’s five-year return of 4.54%
          trailed those of the Off-the-Shelf TDFs, which ranged from 5.14% to 6.05%.

      •   At the end of the First Quarter of 2019, the Black Rock 2040 TDF’s three-year
          return of 9.73% trailed those of the Off-the-Shelf TDFs, which ranged from
          10.14% to 11.28%. Similarly, the BlackRock 2040 TDF’s five-year return of
          6.41% trailed those of the Off-the-Shelf TDFs, which ranged from 7.19% to
          7.98%.

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      •   At the end of the Second Quarter of 2019, the Black Rock 2040 TDF’s three-year
          return of 10.09% trailed those of the Off-the-Shelf TDFs, which ranged from
          10.68% to 11.69%. Similarly, the BlackRock 2040 TDF’s five-year return of
          6.18% trailed those of the Off-the-Shelf TDFs, which ranged from 7.03% to
          7.74%.

      •   At the end of the Third Quarter of 2019, the Black Rock 2040 TDF’s three-year
          return of 8.82% trailed those of the Off-the-Shelf TDFs, which ranged from
          9.30% to 9.93%. Similarly, the BlackRock 2040 TDF’s five-year return of 6.75%
          trailed those of the Off-the-Shelf TDFs, which ranged from 7.21% to 7.95%.

      •   At the end of the Fourth Quarter of 2019, the Black Rock 2040 TDF’s three-year
          return of 11.29% trailed those of the Off-the-Shelf TDFs, which ranged from
          11.64% to 12.76%. Similarly, the BlackRock 2040 TDF’s five-year return of
          8.00% trailed those of the Off-the-Shelf TDFs, which ranged from 8.19% to
          9.30%.

      •   At the end of the First Quarter of 2020, the Black Rock 2040 TDF’s three-year
          return of 1.71% trailed those of the Off-the-Shelf TDFs, which ranged from
          2.03% to 3.77%. Similarly, the BlackRock 2040 TDF’s five-year return of 2.88%
          trailed those of the Off-the-Shelf TDFs, which ranged from 3.42% to 4.81%.

      •   At the end of the Second Quarter of 2020, the Black Rock 2040 TDF’s three-year
          return of 6.02% trailed those of the Off-the-Shelf TDFs, which ranged from
          6.63% to 8.38%. Similarly, the BlackRock 2040 TDF’s five-year return of 6.26%
          trailed those of the Off-the-Shelf TDFs, which ranged from 7.08% to 8.24%.

      •   At the end of the Third Quarter of 2020, the Black Rock 2040 TDF’s three-year
          return of 6.96% trailed those of the Off-the-Shelf TDFs, which ranged from
          7.52% to 9.05%. Similarly, the BlackRock 2040 TDF’s five-year return of 9.44%
          trailed those of the Off-the-Shelf TDFs, which ranged from 10.42% to 11.34%.

      •   At the end of the Fourth Quarter of 2020, the Black Rock 2040 TDF’s three-year
          return of 9.64% trailed those of the Off-the-Shelf TDFs, which ranged from
          10.68% to 11.76%. Similarly, the BlackRock 2040 TDF’s five-year return of
          11.34% trailed those of the Off-the-Shelf TDFs, which ranged from 12.21% to
          12.99%.

      •   At the end of the First Quarter of 2021, the Black Rock 2040 TDF’s three-year
          return of 11.52% trailed those of the Off-the-Shelf TDFs, which ranged from
          12.24% to 13.07%. Similarly, the BlackRock 2040 TDF’s five-year return of

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                   11.88% trailed those of the Off-the-Shelf TDFs, which ranged from 12.78% to
                   13.75%.

               •   At the end of the Second Quarter of 2021, the Black Rock 2040 TDF’s three-year
                   return of 13.35% trailed those of the Off-the-Shelf TDFs, which ranged from
                   13.99% to 14.80%. Similarly, the BlackRock 2040 TDF’s five-year return of
                   12.82% trailed those of the Off-the-Shelf TDFs, which ranged from 13.66% to
                   14.69%.

               •   At the end of the Third Quarter of 2021, the Black Rock 2040 TDF’s three-year
                   return of 11.87% trailed those of the Off-the-Shelf TDFs, which ranged from
                   12.04% to 13.49%. Similarly, the BlackRock 2040 TDF’s five-year return of
                   11.75% trailed those of the Off-the-Shelf TDFs, which ranged from 12.37% to
                   13.52%.

               •   At the end of the Fourth Quarter of 2021, the Black Rock 2040 TDF’s three-year
                   return of 18.16% trailed those of the Off-the-Shelf TDFs, which ranged from
                   18.48% to 19.96%. Similarly, the BlackRock 2040 TDF’s five-year return of
                   12.77% trailed those of the Off-the-Shelf TDFs, which ranged from 13.34% to
                   14.75%.

         68.       Again, Defendants had immediate access to historical and then-current returns

data for the Fluor TDFs, and could have sought comparative data at any time from Watson Wyatt

or Aon Hewitt/Voya, or indeed obtained it themselves in real time through just a few clicks of a

computer mouse.

         69.       Across the board, at all stages along the Fluor TDFs’ glide path 12 from aggressive

to conservative, the Fluor TDFs’ returns pale in comparison to those of the Off-the-Shelf TDFs.

Defendants, however, neglected to undertake any analysis of the Active suite against appropriate

peers using the above important performance metrics. If Defendants had taken their fiduciary

duties seriously throughout the Class Period they would have replaced the Fluor TDFs with one

of the Off-the-Shelf TDFs, or indeed one of the several other superior, available alternative TDF




12
  A TDF’s shifting allocations to stocks, bonds and cash over time as investors approach their target retirement date
is referred to as its glide path.

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suites. Their failure to due so caused Plan participants to miss out on millions in capital

appreciation for their retirement savings.

                          ii.      The Custom Large Cap Equity Fund

        70.      It is a basic principle of investment theory that the risks associated with an

investment must first be justified by its potential returns for that investment to be rational. This

principle applies even before considering the purpose of the investment and the needs of the

investor, such as the retirement assets here. The Capital Asset Pricing Model (“CAPM”), which

is used for pricing securities and generating expected returns for assets given the risk of those

assets and the cost of capital, provides a mathematical formula distilling this principle:

                 ERi=Rf+βi(ERm−Rf), where:

                 ERi=expected return of investment
                 Rf=risk-free rate
                 βi=beta of the investment
                 (ERm−Rf)=market risk premium

        71.      Applied here and put simply, the βi is the risk associated with an actively-

managed mutual fund, which can only be justified if the ERi of the investment option is, at the

very least, above that of its benchmark, Rf. 13 Otherwise, the model collapses, and it would be

imprudent to assume any risk without achieving an associated return above the benchmark

returns.

        72.      The Large Cap Equity Fund is a custom investment alternative established for

exclusive use by the plans in the Master Trust, including the Plan. The Fund has failed to

demonstrate an ability to beat its benchmark, the Russell 1000 Index, over a trailing five- or ten-

year period, per the data points available to Plaintiff through Plan literature:




 In this instance, the index benchmark takes the place of the “risk-free” rate, as the investment option is measured
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against the performance of that investment category, rather than the typical U.S. Treasury Bonds or equivalent
government security in a general CAPM calculation.

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        73.        As discussed above, active managers face an uphill battle to provide value by

consistently beating their benchmarks with the additional obstacle of high fees, compared to

those funds that simply track the benchmark. Given the presence in the Plan lineup of an index

fund that already tracks the large cap domestic market (the S&P 500 Index Fund), there was and

is no reason to include an actively managed fund in the U.S. large cap space, particularly not one

so poor. Indeed, Morningstar concluded in its year-end 2018 report on active vs passive

management that long term success rates (a fund’s ability to survive and outperform a low-cost

index fund tracking its benchmark over longer time horizons) were lowest among U.S. large cap

funds. Defendants’ misguided decision to create and retain the Fund, an actively managed U.S.

large cap, was exacerbated by the Fund’s complete inability to provide participants sufficient

value to justify its 30 basis point (0.30%) expense ratio. In contrast, the Plan’s index option that

tracks the S&P 500 Index charges a measly 5 basis points (0.05%). Indeed, it was a severe

breach of fiduciary duty for Defendants to retain an investment option that, for six times the cost

of an alternative fund in the same category, failed to produce returns to match, much less exceed,

the alternative.

                          iii.   The Custom Small/Mid Cap Equity Fund

        74.        The Small/Mid Cap Equity Fund is a custom investment alternative established

for exclusive use by the plans in the Master Trust, including the Plan. The Fund suffers from the

same performance failures as the custom Large Cap Equity Fund; it has failed to demonstrate an

ability to beat its benchmark, the Russell 2500 Index, over a trailing five- or ten-year period, per

the data points available to Plaintiff through Plan literature:


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        75.     Again, active managers face an uphill battle to provide value by consistently

beating their benchmarks with the additional obstacle of high fees, compared to those funds that

simply track the benchmark. Given the presence in the Plan lineup of an index fund that already

tracks the small/mid cap domestic market (the Small/Mid Cap Equity Index Fund 14), there was

and is no reason to include an actively managed fund in the U.S. small/mid cap space,

particularly not one so poor. Defendants’ misguided decision to create and retain the Fund was

exacerbated by the Fund’s complete inability to provide participants sufficient value to justify its

46 basis point (0.46%) expense ratio. In contrast, the Plan’s index option charges just 6 basis

points (0.06%). Indeed, it was a severe breach of fiduciary duty for Defendants to retain an

investment option that, for nearly eight times the cost of an alternative fund in the same category,

failed to produce returns to match, much less exceed, the alternative.

                        iv.     The Custom Non-U.S. Equity Fund

        76.     The Non-U.S. Equity Fund is a custom investment alternative established for

exclusive use by the plans in the Master Trust, including the Plan. The Fund has also repeatedly

failed to beat its benchmark, the MSCI ACWI ex U.S. Index, over a trailing five- or ten-year

period, per the data points available to Plaintiff through Plan literature:




 The Small/Mid Cap Equity Index Fund tracks the Dow Jones U.S. Completion Total Stock Market Index, which,
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according to the Fund’s fact sheet, represents the small and mid-cap segments of the U.S. market.

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                      Non-US Equity Fund Outperformance v Benchmark
                              5-Year Annualized Returns    10-Year Annualized Returns
               As of         Fund Benchmark Diff           Fund Benchmark Diff
               4Q2018        -0.2%      0.7%       -0.9%   4.6%       6.6%      -2.0%
               4Q2019        5.2%       5.5%       -0.3%   3.7%       5.0%      -1.3%
               2Q2020         1.4%      2.3%       -0.9%   4.1%       5.0%      -0.9%

       77.     As demonstrated above, the active managers Defendants selected for the plan

have failed to provide value by consistently beating their benchmarks with the additional

obstacle of high fees. The Plan lineup includes an index fund that already tracks the MSCI

ACWI ex U.S. Index (the Non-U.S. Equity Index Fund). Accordingly, there was and is no

reason to include the actively managed Non-U.S. Equity Fund that has shown zero ability to

provide participants sufficient value to justify its 39 basis point (0.39%) expense ratio. In

contrast, the Plan’s index option charges just 11 basis points (0.11%). Indeed, it was a severe

breach of fiduciary duty for Defendants to retain an investment option that, for nearly four times

the cost of an alternative fund in the same category, failed to produce returns to match, much less

exceed, the alternative.

                             V.     ERISA’S FIDUCIARY STANDARDS

       78.     ERISA imposes strict fiduciary duties of loyalty and prudence upon the

Defendants as fiduciaries of the Plan. Section 404(a) of ERISA, 29 U.S.C. § 1104(a), states, in

relevant part, as follows:


                [A] fiduciary shall discharge his duties with respect to a plan
                solely in the interest of the participants and beneficiaries and -

                (A)        for the exclusive purpose of


                           (i)     providing benefits to participants and their
                                   beneficiaries; and
                           (ii)    defraying reasonable expenses of administering the plan;

                                                [and]

                (B)        with the care, skill, prudence, and diligence under the
                           circumstances then prevailing that a prudent man acting in a like

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                        capacity and familiar with such matters would use in the conduct
                        of an enterprise of like character and with like aims.

       79.     Under 29 U.S.C. § 1103(c)(l), with certain exceptions not relevant here, the assets

of a plan shall never inure to the benefit of any employer and shall be held for the exclusive

purposes of providing benefits to participants in a plan and their beneficiaries and defraying

reasonable expenses of administering the plan.

       80.     Under ERISA, parties that exercise any authority or control over plan assets,

including the selection of plan investments and service providers, are fiduciaries and must act

prudently and solely in the interest of participants in a plan.

       81.     ERISA’s fiduciary duties are “the highest known to the law” and must be

performed “with an eye single” to the interests of participants. Donovan v. Bierwirth, 680 F.2d

263, 271, 272 n. 8 (2d Cir. 1982).

       82.     ERISA also imposes explicit co-fiduciary liabilities on plan fiduciaries. Section

405(a) of ERISA, 29 U.S.C. § 1105(a) provides a cause of action against a fiduciary for

knowingly participating in a breach by another fiduciary and knowingly failing to cure any

breach of duty. ERISA states, in relevant part, as follows:

                 In addition to any liability which he may have under any other
                 provision of this part, a fiduciary with respect to a plan shall be liable
                 for a breach of fiduciary responsibility of another fiduciary with
                 respect to the same plan in the following circumstances:

                       (1)      if he participates knowingly in, or knowingly
                                undertakes to conceal, an act or omission of such other
                                fiduciary, knowing such act or omission is a breach; or


                       (2)      if, by his failure to comply with section 404(a)(l) in the
                                administration of his specific responsibilities which
                                give risk to his status as a fiduciary, he has enabled such
                                other fiduciary to commit a breach; or


                       (3)      if he has knowledge of a breach by such other fiduciary,
                                unless he makes reasonable efforts under the
                                circumstances to remedy the breach.



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       83.     Section 502(a)(2) of ERISA, 29 U.S.C. § 1132(a)(2) authorizes a plan participant

to bring a civil action to enforce a breaching fiduciary’s liability to the plan under Section 409,

29 U.S.C. § 1109. Section 409(a) of ERISA provides, in relevant part:

        Any person who is a fiduciary with respect to a plan who breaches any of the
        responsibilities, obligations, or duties imposed upon fiduciaries by this
        subchapter shall be personally liable to make good to such plan any losses to
        the plan resulting from each such breach, and to restore to such plan any profits
        of such fiduciary which have been made through use of assets of the plan by the
        fiduciary, and shall be subject to such other equitable or remedial relief as the
        court may deem appropriate, including removal of such fiduciary.


                                 VI.     CLASS ALLEGATIONS

      84.      This action is brought as a class action by Plaintiffs on behalf of themselves and

the following proposed class (the “Class”):

                All participants and beneficiaries in the Fluor Corporation Employees’
                Savings Investment Plan (the “Plan”) at any time on or after January 24,
                2022 to the date of judgment or such other earlier date that the Court
                determines is appropriate and just (the “Class Period”), including any
                beneficiary of a deceased person who was a participant in the Plan at any
                time during the Class Period.

Excluded from the Class are Defendants and the Judge to whom this case is assigned or any other

judicial officer having responsibility for this case who is a beneficiary.

      85.      This action may be maintained as a class action pursuant to Rule 23 of the Federal

Rules of Civil Procedure.

      86.      Numerosity. Plaintiffs are informed and believe that there are at least thousands

of Class members throughout the United States. As a result, the members of the Class are so

numerous that their individual joinder in this action is impracticable.

      87.      Commonality. There are numerous questions of fact and/or law that are common

to Plaintiffs and all the members of the Class, including, but not limited to the following:




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        (a)      Whether Defendants failed and continue to fail to discharge their duties with respect

to the Plan solely in the interest of the Plan’s participants for the exclusive purpose of providing

benefits to participants and their beneficiaries;

        (b)      Whether Defendants breached their fiduciary duties under ERISA by failing to

defray the reasonable expenses of administering the Plan; and

        (c)      Whether and what form of relief should be afforded to Plaintiffs and the Class.

       88.       Typicality. Plaintiffs, who are members of the Class, have claims that are typical

 of all of the members of the Class. Plaintiffs’ claims and all of the Class members’ claims arise

 out of the same uniform course of conduct by Defendants and arise under the same legal

 theories that are applicable as to all other members of the Class. In addition, Plaintiffs seek

 relief for the Plan under the same remedial theories that are applicable as to all other members

 of the Class.

       89.       Adequacy of Representation. Plaintiffs will fairly and adequately represent the

 interests of the members of the Class. Plaintiffs have no conflicts of interest with or interests

 that are any different from the other members of the Class. Plaintiffs have retained competent

 counsel experienced in class action and other complex litigation, including class actions under

 ERISA.

       90.       Potential Risks and Effects of Separate Actions. The prosecution of separate

actions by or against individual Class members would create a risk of: (A) inconsistent or varying

adjudications with respect to individual class members that would establish incompatible standards

of conduct for the party opposing the Class; or (B) adjudications with respect to individual Class

members that, as a practical matter, would be dispositive of the interests of the other members not

parties to the individual adjudications or would substantially impair or impede their ability to

protect their interests.



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      91.      Predominance. Common questions of law and fact predominate over questions

affecting only individual Class members, and the Court, as well as the parties, will spend the

vast majority of their time working to resolve these common issues. Indeed, virtually the only

individual issues of significance will be the exact amount of damages recovered by each Class

member, the calculation of which will ultimately be a ministerial function and which does not

bar Class certification.

      92.      Superiority. A class action is superior to all other feasible alternatives for the

resolution of this matter. The vast majority of, if not all, Class members are unaware of

Defendants’ breaches of fiduciary duty and prohibited transactions such that they will never

bring suit individually. Furthermore, even if they were aware of the claims they have against

Defendants, the claims of virtually all Class members would be too small to economically

justify individual litigation. Finally, individual litigation of multiple cases would be highly

inefficient, a gross waste of the resources of the courts and of the parties, and potentially could

lead to inconsistent results that would be contrary to the interests of justice.

      93.      Manageability. This case is well-suited for treatment as a class action and easily

can be managed as a class action since evidence of both liability and damages can be adduced,

and proof of liability and damages can be presented, on a Class-wide basis, while the allocation

and distribution of damages to Class members would be essentially a ministerial function.

      94.      Defendants have acted on grounds generally applicable to the Class by uniformly

subjecting them to the breaches of fiduciary duty described above. Accordingly, injunctive

relief, as well as legal and/or equitable monetary relief (such as disgorgement and/or

restitution), along with corresponding declaratory relief, are appropriate with respect to the

Class as a whole.

       95.     Plaintiffs’ counsel will fairly and adequately represent the interests of the Class

and are best able to represent the interests of the Class under Rule 23(g) of the Federal Rules of

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Civil Procedure. Moreover, treating this case as a class action is superior to proceeding on an

individual basis and there will be no difficulty in managing this case as a class action.

        96.     Therefore, this action should be certified as a class action under Rules 23(a) and

23(b)(1) and/or 23(b)(3) of the Federal Rules of Civil Procedure.

                                            COUNT I
                                  (For Breach of Fiduciary Duty)

        97.     Plaintiffs incorporate by reference the allegations in the previous paragraphs of

this Complaint as if fully set forth herein.

        98.     Defendants’ conduct, as set forth above, violates their fiduciary duties under

Sections 404(a)(1)(A), (B) and (D) of ERISA, 29 U.S.C. § 1104(a)(1)(A), (B) and (D), in that

Defendants failed and continue to fail to discharge their duties with respect to the Plan solely in

the interest of the Plan’s participants and beneficiaries and (a) for the exclusive purpose of (i)

providing benefits to participants and their beneficiaries; and (ii) defraying reasonable expenses

of administering the Plan with (b) the care, skill, prudence, and diligence under the

circumstances then prevailing that a prudent man acting in a like capacity and familiar with such

matters would use in the conduct of an enterprise of a like character and with like aims, and (c)

by failing to act in accordance with the documents and instruments governing the Plan. In

addition, as set forth above, Defendants violated their respective fiduciary duties under ERISA to

monitor other fiduciaries of the Plan in the performance of their duties.

        99.     To the extent that any of the Defendants did not directly commit any of the

foregoing breaches of fiduciary duty, at the very minimum, each such Defendant is liable under

29 U.S.C. § 1105(a) because he, she, they or it was a co-fiduciary and knowingly participated in

(or concealed) a breach by another fiduciary, enabled another fiduciary to commit breaches of

fiduciary duty in the administration of his, her, their or its specific responsibilities giving rise to




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his, her, their or its fiduciary status and/or knowingly failing to cure a breach of fiduciary duty by

another fiduciary and/or failed to take reasonable efforts to remedy the breach.

        100.    As a direct result of Defendants’ breaches of duties, the Plan has suffered losses

and damages.

        101.    Pursuant to Sections 409 and 502(a)(2) of ERISA, 29 U.S.C. §§ 1109 and 1132,

Defendants are liable to restore to the Plan the losses that have been suffered as a direct result of

Defendants’ breaches of fiduciary duty and are liable for damages and any other available

equitable or remedial relief, including prospective injunctive and declaratory relief, and

attorneys’ fees, costs and other recoverable expenses of litigation.

                                          COUNT II
                  (Failure to Monitor Fiduciaries and Co-Fiduciary Breaches)

       102.     Plaintiffs incorporate the allegations in the previous paragraphs of this Complaint

as if fully set forth herein.

       103.     Fluor is responsible for appointing, overseeing, and removing members of the

Committees, who, in turn, are responsible for appointing, overseeing, and removing members of

the Committees.

       104.     In light of its appointment and supervisory authority, Fluor had a fiduciary

responsibility to monitor the performance of the Committees and their members. In addition,

Fluor and the Committees had a fiduciary responsibility to monitor the performance of the

members of the respective Committees.

       105.     A monitoring fiduciary must ensure that the monitored fiduciaries are performing

their fiduciary obligations, including those with respect to the investment and holding of Plan

assets, and must take prompt and effective action to protect the Plan and participants when they

are not.

       106.     To the extent that fiduciary monitoring responsibilities of Fluor or the


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Committees was delegated, each Defendant’s monitoring duty included an obligation to ensure

that any delegated tasks were being performed prudently and loyally.

      107.      Fluor and the Committees breached their fiduciary monitoring duties by, among

other things:

          (a) Failing to monitor and evaluate the performance of its appointees or have a system

          in place for doing so, standing idly by as the Plan suffered enormous losses as a result

          of the appointees’ imprudent actions and omissions with respect to the Plan;

          (b) Failing to monitor its appointees’ fiduciary processes, which would have alerted a

          prudent fiduciary to the breaches of fiduciary duties described herein, in clear violation

          of ERISA; and

          (c) Failing to remove appointees whose performances were inadequate in that they

          continued to maintain imprudent, excessively costly, and poorly performing investments

          within the Plan, all to the detriment of the Plan and its participants’ retirement savings.

      108.      As a consequence of these breaches of the fiduciary duty to monitor, the Plan

suffered substantial losses. Had Fluor and the Committees discharged their fiduciary monitoring

duties prudently as described above, the losses suffered by the Plan would have been minimized

or avoided. Therefore, as a direct result of the breaches of fiduciary duties alleged herein, the

Plan and its participants have lost millions of dollars of retirement savings.

      109.      Fluor and the Committees are liable under 29 U.S.C. § 1109(a) to make good to

the Plan any losses to the Plan resulting from the breaches of fiduciary duties alleged in this

Count, to restore to the Plan any profits made through use of Plan assets, and are subject to other

equitable or remedial relief as appropriate.

       110.     Each of the Defendants also knowingly participated in the breaches of the other

Defendants, knowing that such acts were constituted breaches; enabled the other Defendants to

commit breaches by failing to lawfully discharge their own fiduciary duties; and knew of the

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breaches by the other Defendants and failed to make any reasonable effort under the

circumstances to remedy the breaches. Defendants, thus, are liable for the losses caused by the

breaches of their co-fiduciaries under 29 U.S.C. § 1105(a).

                                           COUNT III
                   (In the Alternative, Liability for Knowing Breach of Trust)

         111.   Plaintiffs incorporate the allegations in the previous paragraphs of this Complaint

as if fully set forth herein.

         112.   In the alternative, to the extent that any of the Defendants are not deemed a

fiduciary or co-fiduciary under ERISA, each such Defendant should be enjoined or otherwise

subject to equitable relief as a non-fiduciary from further participating in a knowing breach of

trust.

         113.   To the extent any of the Defendants are not deemed to be fiduciaries and/or are

not deemed to be acting as fiduciaries for any and all applicable purposes, any such Defendants

are liable for the conduct at issue here, since all Defendants possessed the requisite knowledge

and information to avoid the fiduciary breaches at issue here and knowingly participated in

breaches of fiduciary duty by permitting the Plan to offer a menu of imprudent investment

options and pay unreasonable recordkeeping and administrative fees, all of which was

unjustifiable in light of the size and characteristics of the Plan.

                                      PRAYER FOR RELIEF

         WHEREFORE, Plaintiffs, on behalf of themselves, the Class and the Plan, demands

judgment against Defendants, for the following relief:

         (a)    Declaratory and injunctive relief pursuant to Section 502 of ERISA, 29 U.S.C. §

         1132, as detailed above;

         (b)    Equitable, legal or remedial relief to return all losses to the Plan and/or for

         restitution and/or damages as set forth above, plus all other equitable or remedial relief as


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       the Court may deem appropriate pursuant to Sections 409 and 502 of ERISA, 29 U.S.C.

       §§ 1109 and 1132;

       (c)     Pre-judgment and post-judgment interest at the maximum permissible rates,

       whether at law or in equity;

       (d)     Attorneys’ fees, costs and other recoverable expenses of litigation; and

       (e)     Such further and additional relief to which the Plan may be justly entitled and the

Court deems appropriate and just under all of the circumstances.

                                         JURY DEMAND

       Plaintiffs demand a jury trial with respect to all claims so triable.

                          NOTICE PURSUANT TO ERISA § 502(h)

       To ensure compliance with the requirements of ERISA § 502(h), 29 U.S.C. § 1132(h),

the undersigned hereby affirms that, on this date, a true and correct copy of this Complaint was

served upon the Secretary of Labor and the Secretary of the Treasury by certified mail, return

receipt requested.

DATED: January 24, 2022                               Respectfully submitted,

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